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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

                                             MDL No. 2875
 IN RE: VALSARTAN, LOSARTAN,
 AND IRBESARTAN PRODUCTS                     Honorable Robert B. Kugler,
 LIABILITY LITIGATION                        District Court Judge

                                             Honorable Joel Schneider,
 This Document Relates to All Actions        Magistrate Judge



                          CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of July, 2020, I filed the foregoing

 Notice of Wholesaler Defendants’ Motion to Dismiss; Wholesaler Defendants’

 Memorandum of Law in Support of Their Motion to Dismiss; Compendium of

 Charts Referenced in the Wholesaler Defendants’ Memorandum of Law in Support

 of Their Motion to Dismiss; and Compendium of Unreported Cases Cited in the

 Wholesaler Defendants’ Memorandum of Law in Support of their Motion to

 Dismiss electronically through the CM/ECF system, which will send notice of

 filing to all CM/ECF participants.

                                                  /s/ Andrew D. Kaplan
